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     WHOLE FOODS MARKET CALIFORNIA,
   9
     INC.; and MRS. GOOCH’S NATURAL FOOD
  10 MARKETS, INC.

  11                             UNITED STATES DISTRICT COURT
  12                        CENTRAL DISTRICT OF CALIFORNIA
  13 SARA SAFARI, PEYMON                           Case No. 8:22-cv-01562-JWH (KESx)
     KHAGHANI, on behalf of themselves
  14 and all others similarly situated, and        DEFENDANTS’ OPPOSITION
     FARM FORWARD, on behalf of the                TO PLAINTIFF FARM
  15 general public,                               FORWARD’S MOTION FOR
                                                   RECONSIDERATION
  16               Plaintiffs,
                                                   Date:    September 29, 2023
  17         v.                                    Time:    9:00 AM
                                                   Place:   411 West Fourth Street
  18 WHOLE FOODS MARKET                                     Courtroom 9D, 9th Floor
       SERVICES, INC., a Delaware                           Santa Ana, California 92701
  19 corporation, WHOLE FOODS
       MARKET CALIFORNIA, INC., a                  The Honorable John W. Holcomb
  20 California corporation, MRS. GOOCH’S
       NATURAL FOOD MARKETS, INC.,                 Complaint Filed: August 23, 2022
  21 doing business as Whole Foods Market,         Trial Date:      Not Set
       a California Corporation,
  22
                   Defendants.
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   1                                I.     INTRODUCTION
   2        In its July 24, 2023 “Order Regarding Defendants’ Motion to Dismiss” (ECF
   3 No. 75), the Court properly dismissed, with leave to amend, Plaintiff Farm

   4 Forward’s claims based on its lack of Article III standing. Farm Forward’s motion

   5 for reconsideration of that portion of the order should be denied. As a threshold

   6 matter, contrary to the requirements of this Court’s Local Rule 7-18, Farm

   7 Forward’s motion for reconsideration repeats previously-raised and rejected

   8 arguments and improperly implores this Court to change its ruling based upon a case

   9 that was decided and in front of this Court prior to its order.

  10        Farm Forward’s motion also misconstrues the Court’s order and the purported
  11 “new” case California Medical Association v. Aetna Health of California, 532 P.3d

  12 250, 14 Cal.5th 1075 (July 17, 2023) (“California Medical Association v. Aetna”).

  13 California Medical Association v. Aetna is a California Supreme Court case that is

  14 not binding authority on the issue of Article III standing. More importantly, it does

  15 not examine the issue of Article III standing or the viability of the diversion of

  16 resources theory of organizational standing post TransUnion, LLC v. Ramirez,

  17 ___U.S. __, 141 S.Ct. 2190 (2021) (“TransUnion”). Rather, it discusses a

  18 California state law, the UCL. It also does not examine the issue, considered in the

  19 Court’s order, of whether an alleged diversion of resources merely constitutes

  20 business as usual, which does not qualify as a diversion of resources under Article

  21 III. The legal principle that an organizations’ diversion of resources must constitute

  22 “additional resources that they would not otherwise have expended, and in ways that

  23 they would not have expended them” to qualify as a diversion of resources remains

  24 good law both under the UCL and Article III. Friends of the Earth v. Sanderson

  25 Farms, Inc., 938 F.3d 939, 942 (9th Cir. 2021).

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   1                   II.    RELEVANT PROCEDURAL POSTURE
   2 A.     Prior Iterations of Plaintiffs’ Complaint
   3        Over a year ago, on August 23, 2022, Plaintiffs filed their initial complaint in
   4 this action together with another consumer, Jason Rose, against Whole Foods

   5 Market, Inc. (“WFMI”).1 WFMI filed a motion to dismiss the complaint for lack of

   6 personal jurisdiction, failure to allege standing and a lack of particularity in October

   7 2022. Plaintiff Jason Rose thereafter voluntarily dismissed his claims under Federal

   8 Rule of Civil Procedure 41(a), and the remaining Plaintiffs filed a First Amended

   9 Complaint (“FAC”), dropping WFMI as a defendant and naming Whole Foods

  10 Market Services, Inc., Whole Foods Market California, Inc. and Mrs. Gooch’s

  11 Natural Food Markets, Inc. (collectively, “Defendants”) in its place. See ECF Nos.

  12 27 & 35. The FAC also added several allegations in an effort to address WFMI’s

  13 standing and particularity arguments and added claims for breach of express

  14 warranty and intentional misrepresentation. See ECF No. 35-1. In the FAC, Farm

  15 Forward asserted four claims for relief: (1) violation of the California Consumer

  16 Legal Remedies Act; (2) violation of the California Unfair Competition Law

  17 (“UCL”); (3) violation of the California False Advertising Law (“FAL”); and (4)

  18 fraudulent concealment. ECF No. 35. The Court denied WFMI’s motion to dismiss

  19 as moot based on the filing of the FAC. ECF No. 26.

  20        The Court held an Initial Scheduling Conference on December 13, 2022. See
  21 ECF No. 38. During the conference, the parties and Court discussed various

  22 pleadings defects Defendants contended existed in the FAC. The Court ordered the

  23 parties to meet and confer over these issues to resolve as much as possible by

  24

  25   1
       In November 2022, Girard Sharp LLP – one of the law firms representing
  26 Plaintiffs in this action – moved to withdraw as counsel of record because their
     client, plaintiff Jason Rose, voluntarily dismissed his claims. See ECF No. 33. The
  27 Court granted the motion by order entered on December 5, 2022. See ECF No. 37.

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   1 voluntary amendment before proceeding, if necessary, with motion practice. Id.

   2 The parties held an initial conference on December 20, 2022 and exchanged further

   3 communications detailing their positions on December 21, 22 and 30. The parties

   4 were able to resolve their dispute over CAFA jurisdiction, but Plaintiffs chose to

   5 stand on their allegations in the FAC in response to Defendants’ other pleading

   6 challenges.

   7 B.     Defendants’ Motion to Dismiss the FAC
   8        In January 2023, Defendants filed a motion to dismiss the FAC under Rules
   9 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure. ECF No. 46.

  10 Plaintiffs filed an opposition to the motion and Defendants filed a reply brief in

  11 February 2023.

  12        On March 14, 2023, the Court issued an order directing the parties to file
  13 supplemental briefs concerning Article III standing. ECF No. 54. Thereafter, both

  14 parties simultaneously filed supplemental briefs. ECF Nos. 55 & 57.

  15        On April 7, 2023, the Court heard oral argument on Defendants’ motion to
  16 dismiss the FAC and took the matter under submission. ECF No. 59.

  17        Before the Court issued its opinion, Plaintiffs filed three notices of
  18 supplemental authority. First, prior to oral argument, on February 27, 2023,

  19 Plaintiffs filed a notice regarding a February 7, 2023 Central District of California

  20 order in Henriquez v. ALDI Inc., No. 2:22-cv-06060-JLS-JEM. ECF No. 51.

  21        Second, after oral argument, on April 13, 2023, Plaintiffs filed a notice of
  22 supplemental authority attaching two decisions Plaintiffs claimed were relevant to

  23 the issue of organizational standing under the UCL stemming from a Northern

  24 District of Texas order in a case entitled Alliance for Hippocratic Medicine, et al. v.

  25 U.S. Food and Drug Administration, et al. (Case No. 2:22-CV-233-Z). ECF No. 60.

  26 Plaintiffs attached the district court’s April 7, 2023 order in which it granted the

  27 plaintiffs’ motion for a preliminary injunction and stayed the FDA’s approval of

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   1 mifepristone. ECF No. 60-1. Plaintiffs also attached an April 12, 2023 unpublished

   2 order in the 5th Circuit (Case No. 23-10362), which granted in part and denied in

   3 part a motion for a stay pending an appeal of the district court’s April 7th order.

   4 ECF No. 60-2.

   5        On July 17, 2023, Plaintiffs filed their third “Notice of Supplemental
   6 Authority” regarding the California Supreme Court decision in California Medical

   7 Association v. AETNA Health of California (Case No. S269212), which Plaintiffs

   8 claimed addressed organizational standing under the UCL. ECF No. 73.

   9 C.     The Court’s Order on Defendants’ Motion to Dismiss the FAC
  10        On July 24, 2023, the Court granted in part and denied in part Whole Foods’
  11 motion to dismiss the FAC, with leave to amend, in a twenty-two-page written

  12 decision. ECF No. 75. The Court found that Farm Forward failed to adequately

  13 allege Article III standing for two reasons. First, it held that Farm Forward could

  14 not establish organizational standing under a diversion-of-resources theory or a

  15 reputational or financial harm theory. The Court reasoned that Farm Forward

  16 “fail[ed] to meet the Ninth’s Circuit’s requirement for organizational standing

  17 through a diversion-of-resources theory” because its activities were “a continuation

  18 of its existing mission to end factory farming.” ECF No. 75, pp. 15-16. With

  19 respect to reputational injury, the Court found that Farm Forward failed to plead

  20 sufficient facts to establish a concrete injury. Id. at pp. 17-18. With respect to Farm

  21 Forward’s financial loss claim, the Court reasoned that Farm Forward’s alleged

  22 expenditure of resources to investigate and expose Defendants “did not result from

  23 an injury by Whole Foods, but instead, Farm Forward undertook those efforts in

  24 keeping its mission to end factory farming.” Id. at p. 18.

  25        Second, the court found that Farm Forward’s diversion of resources theory
  26 could not be reconciled with the Supreme Court’s recent definition of Article III

  27 standing in TransUnion. ECF No. 75, p. 19. Thus, even assuming, arguendo, that

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   1 Farm Forward had adequately pled a diversion-of-resources theory of harm, it could

   2 not establish Article III standing because such a theory of harm was not grounded in

   3 the “history and tradition” or the “types of cases that Article III empowers federal

   4 court to consider” post-TransUnion. Id. The Court did not analyze Farm Forward’s

   5 standing under the UCL.

   6        On August 7, 2023, Farm Forward filed the instant motion for reconsideration
   7 of the portion of the Court’s order granting Defendants’ motion to dismiss Farm

   8 Forward’s claims, with leave to amend. Subsequently, Plaintiffs filed an ex parte

   9 application to extend their deadline to file an amended complaint until the Court

  10 rules on Farm Forward’s motion for reconsideration, which the Court granted. ECF

  11 No. 84.

  12                              III.   LEGAL STANDARD
  13        While courts have inherent power to reconsider and modify interlocutory
  14 orders prior to entry of judgment, reconsideration is an “extraordinary remedy, to be

  15 used sparingly.” Kona Enterprises, Inc. v. Estate of Bishop, 228 F.3d 877, 890 (9th

  16 Cir. 2000). Under this Court’s Local Rules, a motion for reconsideration must be

  17 founded on any of three bases: “(a) a material difference in fact or law from that

  18 presented to the Court before such decision that in the exercise of reasonable

  19 diligence could not have been known to the party moving for reconsideration at the

  20 time of such decision[;] or (b) the emergence of new material facts or a change of

  21 law occurring after the time of such decision[;] or (c) a manifest showing of a failure

  22 to consider material facts presented to the Court before such a decision.” CD CA

  23 L.R. 7-18.

  24        A motion for reconsideration should not repeat argument a court rejected the
  25 first time around. Devon Energy Production Co., L.P. v. Mosaic Potash Carlsbad,

  26 Inc., 693 F.3d 1195, 1212 (10th Cir. 2012); see also, CD CA L.R. 7-18 (“No motion

  27 for reconsideration may in any manner repeat any oral or written argument made in

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   1 support of, or in opposition to, the original motion”). Moreover, “reargument

   2 should not be used as a means to argue new facts or issues that inexcusably were not

   3 presented to the court in the matter previously decided.” Bhatnagar v. Surrendra

   4 Overseas, Ltd., 52 F.3d 1220, 1231 (3rd Cir. 1995); Alicea v. Machete Music, 744

   5 F.3d 773, 781 (1st Cir. 2014). To prevail on a motion for reconsideration, “a party

   6 must set forth facts or law of a convincing nature” to induce the court to change its

   7 prior decision. Omstead v. Dell, Inc., 533 F.Supp.3d 1012, 1019 (N.D. Cal. 2008).

   8        While Farm Forward fails to specify in its moving papers, which of the three
   9 bases in Local Rule 7-18 they seek reconsideration under, the only potentially

  10 applicable grounds are (a) and (b) as Farm Forward’s motion identifies a new case,

  11 but it does not identify any facts that the Court purportedly failed to consider. As

  12 set forth below, Farm Forward fails to satisfy either subdivisions (a) or (b) under

  13 Local Rule 7-18. Instead, Farm Forward’s motion merely asks the Court to rethink

  14 the arguments already raised by Plaintiffs and rejected by this Court.

  15                                  IV.    DISCUSSION
  16 A.     Farm Forward’s Motion for Reconsideration Should Be Denied Because
  17        It Fails to Comply with Local Rule 7-18.
  18        The Court should deny Farm Forward’s motion for reconsideration because it
  19 fails to satisfy the requirements of either subdivision (a) or (b) of Local Rule 7-18.

  20 Farm Forward’s motion rests on its contention that the Court must reconsider its

  21 decision that Farm Forward failed to adequately plead Article III standing in light of

  22 a “new” California Supreme Court case, California Medical Association v. Aetna.

  23 The California Supreme Court, however, published that decision on July 17, 2023, a

  24 week prior to the date the Court issued its order granting Defendants’ motion to

  25 dismiss. On that date, a week before the Court issued its order, Plaintiffs also

  26 notified the Court of the California Medical Association v. Aetna case by filing a

  27 notice of supplemental authority arguing that the case was relevant to the issue of

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   1 standing in the then pending motion to dismiss. ECF Nos. 73, 73-1. Accordingly,

   2 contrary to the requirement in Local Rule 7-18, subdivision (a), Plaintiffs presented

   3 to the Court the purported difference in the law before the Court’s decision, and

   4 contrary to subdivision (b), the change of the law did not emerge after the time of

   5 the decision.

   6        Farm Forward attempts to sidestep the requirements of Local Rule 7-18 by
   7 pointing out that “the Court did not identify this supplemental authority in its

   8 Order.” ECF No. 81, p. 2. As an initial matter, Local Rule 7-18 does not provide an

   9 exception to its requirements for instances when a party does not believe that a court

  10 considered a case even though the case existed prior to the time of a decision and

  11 was identified by a party. Such an interpretation of Local Rule 7-18 would permit

  12 motions for reconsideration whenever a court does not cite to an authority a party

  13 believes is relevant. Farm Forward’s advocacy for such an approach to motions for

  14 reconsideration is not currently the standard and does not comport with the tenant

  15 that reconsideration is an “extraordinary remedy, to be used sparingly.” Kona

  16 Enterprises, Inc. v. Estate of Bishop, supra, 228 F.3d at 890.

  17        Farm Forward’s motion also violates Local Rule 7-18 by repeating arguments
  18 made by Plaintiffs in their opposition to the motion to dismiss. Indeed, Section III

  19 in Farm Forward’s brief repeats Plaintiffs’ contention that the four-decade old case

  20 Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982) “is still binding

  21 precedent” and survives TransUnion. C.f., ECF No. 81, pp. 9-10 (Farm Forward’s

  22 Motion for Reconsideration) and ECF No. 58, pp. 11-14 (Plaintiffs’ Supplemental

  23 Brief on Standing). Farm Forward also repeats the contention made in its

  24 supplemental brief that “voluntary acts suffice for standing.” ECF No. 57, p. 22:9-

  25 10 (relying on Federal Election Commission v. Ted Cruz for Senate, 142 S.Ct. 1638,

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   1 1647 (2022)).2 The Court considered and expressly rejected these positions in its

   2 opinion. ECF No. 75, pp. 18-19. In its order, the Court stated:

   3                  In its Supplemental Brief, Plaintiffs argued that
                      ‘[o]rganizational standing is constitutionally viable after
   4                  Supreme Court’s [sic] decision in TransUnion. The
                      TransUnion Court twice cited the for-decade old seminal
   5                  case on organizational standing: Havens Realty[],’
                      Simply put, Plaintiffs’ assertion is not true – Havens
   6                  Realty was twice cited in a dissent to TransUnion…The
                      legal error in Plaintiffs’ briefing punctuates this Court’s
   7                  concern with organizational standing doctrine post-
                      TransUnion; Havens Realty was able to maintain its
   8                  relevant only in Justice Thomas’s dissent.
   9 ECF No. 75, p. 19 (emphasis in original).

  10           Farm Forward belabors this point again in its motion for reconsideration.
  11 According to Farm Forward, because a California Supreme Court case relies upon

  12 Havens Realty in analyzing standing under the UCL, Havens Realty must be

  13 controlling on the issue of Article III standing. As set forth below, Farm Forward is

  14 incorrect because California Medical Association v. Aetna does not materially

  15 change the law on Article III standing.

  16 B.        The Court Should Deny Farm Forward’s Reconsideration Motion
  17           Because It Fails to Establish a Material Difference in the Law on Article
  18           III Standing.
  19           Even if Farm Forward’s motion complied with Local Rule 7-18, which it does
  20 not, its motion for reconsideration still fails because California Medical Association

  21 v. Aetna does not change the law on Article III standing and thus has no impact on

  22 the Court’s order dismissing Farm Forward’s claims.

  23           Farm Forward contends that “[t]his Court has paid careful attention to Article
  24 III standing throughout this litigation….and the Court [should] continue its diligent

  25 review and reconsider its decision on organizational standing in light of this new

  26   2
           In its motion for reconsideration, Farm Forward also improperly repeats its
  27 analysis of Federal Election Commission v. Ted Cruz for Senate, 142 S.Ct. 1638.

  28
       See ECF No. 81, p. 9.                     -8-               Case No. 8:22-CV-01562-JWH (KESx)
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   1 authority.” ECF No. 81, p. 1. Similarly, it contends that “Farm Forward’s resource

   2 expenditures are sufficient to confer Article III standing as explained by California

   3 Medical Association v. Aetna.” Id. at p. 3. Yet, California Medical Association v.

   4 Aetna is a California case that does not analyze Article III standing whatsoever.

   5 Instead, it examines standing under the UCL, a California state law. California

   6 Medical Association v. Aetna, supra, 14 Cal.5th at p. 254. Even if it did analyze

   7 Article III standing, the decision is only persuasive authority, not binding authority,

   8 because it is a California state law decision, and the issue of Article III standing is

   9 governed by federal law. See, Wheeler v. Travelers Ins. Co., 22 F.3d 534, 537 (3rd

  10 Cir. 1994) (standing to sue in federal court is governed by federal law, even in

  11 diversity cases based on state law claims).

  12        Not surprisingly given that it is not a case on Article II standing, California
  13 Medical Association v. Aetna does not analyze or consider TransUnion, which this

  14 Court recognized as a seminal United States Supreme Court case “clarifying the

  15 requirements Article III standing.” ECF No. 75, p.8. Instead, it only cites to

  16 TransUnion once to distinguish between standing under the UCL and Article III.

  17 California Medical Association v. Aetna, supra, 14 Cal.5th at p. 258. Thus,

  18 California Medical Association v. Aetna does not undermine this Court’s

  19 interpretation of TransUnion.

  20        California Medical Association v. Aetna also does not examine a central
  21 tenant at issue in the Court’s order: that Farm Forward cannot establish Article III

  22 standing under a diversion-of-resources theory because its activities constituted

  23 “business as usual.” ECF No. 75, pp. 15-16. Instead, the California Supreme Court

  24 considered whether under the UCL: (i) a diversion of staff time could qualify as a

  25 loss of “money or property”; and (ii) the association’s diversion of resources was

  26 independent of its preparations for litigation. California Medical Association v.

  27 Aetna, supra, 14 Cal.5th at pp. 255, 257. This Court did not consider either of those

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   1 issues in rendering its decision on Defendants’ motion to dismiss. California

   2 Medical Association v. Aetna therefore has no bearing on the Court’s order

   3 dismissing Farm Forward’s claims.

   4                                V.     CONCLUSION
   5        For the foregoing reasons, Defendants respectfully request that the Court deny
   6 Farm Forward’s motion for reconsideration of its July 24, 2023 order granting in

   7 part and denying in part Defendants’ motion to dismiss.

   8 Dated: September 7, 2023              BLAXTER | BLACKMAN LLP
   9

  10
                                     By:              /s/ Erin W. Keefe
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  15
                                              MRS. GOOCH’S NATURAL FOOD
                                                        MARKETS, INC.
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                                                               DEF.S’ OPPO. TO FARM FORWARD’S
                                                                    MTN. FOR RECONSIDERATION
